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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
                                      )
 PATRICE CAMPBELL                     )
 c/o 1025 Connecticut Ave. NW         )
 Suite 615                            ) Civil Action No.
 Washington, D.C. 20008               )
                            Plaintiff )
                  v.                  )
                                      ) JURY DEMAND INCLUDED
 THE OFFICE OF BRAD                   )
 SCHNEIDER, U.S. HOUSE OF             )
 REPRESENTATIVES, ILLINOIS,           )
 10TH DISTRICT,                       )

                              Defendant.



                                              COMPLAINT

       Plaintiff, Patrice Campbell, by and through her undersigned counsel, hereby submits her

Complaint against Defendant, The Office of Representative Brad Schneider (U.S. House of

Representatives, Illinois, 10th District). The following statements are made upon information and

belief, and claims in this complaint may be stated in the alternative.

       In summary, Karyn Davidman – Plaintiff’s supervisor and the Representative’s Casework

and Veterans Affairs Director – created an intolerable hostile work environment aimed at the

Plaintiff because Plaintiff is Black. On one occasion, Director Davidman was relaying a story to

Plaintiff regarding lanyards to secure face masks used to guard against COVID-19 infection.

During that discussion, Davidman told Plaintiff, the Office’s only Black employee, “You are going

to have to get a rope and put it around your neck.” Taken aback by Davidman’s obvious reference

to lynching, Plaintiff explained to Davidman that her instruction was inappropriate and

inflammatory and that she cannot say things like that. Plaintiff further explained to Davidman that

the “rope” to which she referred is called a lanyard. The very next day, on a Microsoft Teams



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video conference attended by the Representative’s entire staff (excluding the Representative

himself), Davidman forcefully instructed the Plaintiff: “put your face on camera please … Really

- face on I have a reason[.]” After ensuring that Plaintiff’s face was visible on the video conference

so that Davidman and the entire staff could witness Plaintiff’s reaction, Davidman proceeded to

repeat the same story she told Plaintiff the day before and to share how she had instructed Plaintiff

that she would be required to “put a rope around her neck.” Davidman laughed hysterically

throughout her story. Fully aware that she was targeting Plaintiff and making light of a horrific

reality, Davidman even mentioned that her husband had warned her that her statement to Plaintiff

was totally inappropriate. After the Microsoft Teams video conference ended, Davidman called

Plaintiff to further mock her – laughing and declaring, “You should have seen your face when I

told that story!”

        Davidman’s conduct created a hostile work environment, targeted at Ms. Campbell because

of her race and color, in violation of the Congressional Accountability Act. Defendant failed to

take responsible and reasonable action against Davidman, who was not disciplined and who

remains Plaintiff’s supervisor. Instead, the Defendant has since engaged in retaliatory conduct

against Plaintiff.

                                       I. JURISDICTION

        1. Plaintiff invokes the jurisdiction of this Court pursuant to the Congressional

Accountability Act of 1995 (2 U.S.C. §1408 (a)), 28 U.S.C. § 1331 (Federal Question), and 28

U.S.C. § 1343).

        2. This is an action authorized and instituted pursuant to the Congressional Accountability

Act (2 U.S.C. § 1301 et seq.).

        3. The unlawful employment practices alleged in this Complaint were committed in the




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District of Columbia.

       4. Plaintiff is an employee of the House of Representatives, and, therefore, she is a

“covered employee” pursuant to the Congressional Accountability Act (2 U.S.C. § 1301(a)(3)(A)).

       5. Plaintiff resides in Zion, Illinois. At all times relevant to this Complaint, Plaintiff has

been, and continues to be, employed by the Office of Congressman Brad Schneider as a

Constituent Services Representative in the Lincolnshire District Office.

       6. The Defendant Office of Congressman Brad Schneider is an “Employing Office” of

the United States House of Representatives, pursuant to the Congressional Accountability Act (2

U.S.C. § 1301(a)(9)(A)).

       7. The Congressional Accountability Act mandates that “[a]ll personnel actions affecting

covered employees shall be made free from any discrimination based on race [or], color [,]” in

compliance with Title VII of the Civil Rights Act of 1964. 2 U.S.C. § 1311(a)(1).

       8. The Congressional Accountability Act makes it unlawful for an employing office, such

as the Defendant, to “intimidate, take reprisal against, or otherwise discriminate against, any

covered employee because the covered employee has opposed any practice made unlawful by [the

Act].” 2 U.S.C. § 1317(a).

       9. Plaintiff has satisfied all administrative and judicial prerequisites to the institution of

this action. On July 14, 2021, the Plaintiff filed a claim with the Office of Congressional

Workplace Rights (OCWR) raising the violations of the Congressional Accountability Act

complained of here. The OCWR Complaint was filed within 180 days from the date(s) of

Defendant’s violations of Plaintiff’s rights, as required by 2 U.S.C. § 1402(d). Plaintiff has the

right to file this civil action, pursuant to 2 U.S.C. §§ 1401 and 1408 because she has not submitted

a request for a hearing at the Office of Congressional Workplace Rights with respect to this claim




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(2 U.S.C. § 1401(b)(1)), and this civil action is filed within 70 days of the date Plaintiff filed her

OCWR claim, as required by 2 U.S.C. § 1401(d).

                                            II. PERTINENT FACTS

          10. At all times relevant to this Complaint, Members and employees of the U.S. House of

Representatives (“House”), including Defendant, were educated about the requirements and

prohibitions of the Congressional Accountability Act through Workplace Rights and

Responsibilities Training and resources available through the Office of Congressional Workplace

Rights.

          11. Plaintiff is employed with the Office of Representative Brad Schneider (the “Office”)

as a Constituent Services Representative on the Constituent Services Team. Plaintiff’s direct

supervisor is Casework and Veterans Affairs Director, Karyn Davidman.

          12. As a Constituent Services Representative, also known as a “Caseworker,” Plaintiff has

responsibility for, among other things, assisting residents within Representative Schneider’s

District (i.e., constituents) who reach out to the Office for help navigating their rights or claims

before federal agencies (i.e., a “case”).

          13. Director Davidman oversees the Constituent Services Team and determines whether,

and to what degree, the Office will assist a constituent seeking help from the Office.

          14. In her role as Casework and Veterans Affairs Director, Davidman has displayed a

pattern of bias towards individuals of color in and outside of the Office, with a particularly

discriminatory attitude towards African Americans. Specifically, Davidman’s discriminatory

attitude is demonstrated by, inter alia, her refusing to assist African American constituents,

consistent favoritism of her Caucasian subordinate employee, and most pointedly, by the egregious

conduct to which she subjected Plaintiff on March 3 and 4, 2021.




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        15. Throughout Plaintiff’s employment with the Office, Director Davidman has accepted

very few requests for assistance from majority black and brown communities (e.g., Zion, North

Chicago and Waukegan, Illinois) within Representative Schneider’s District.

        16. On information and belief, of the few cases that Director Davidman has opened on

behalf of African American constituents, all have been assigned to Plaintiff. These assignments

have made Plaintiff feel like the “Black people representative” for the Office, which singles

Plaintiff out because of her race or color and demonstrates a biased attitude toward Black

constituents.

        17. In the approximate year and a half that Plaintiff has worked as a Constituent Services

Representative, she has only helped nine Black constituents, which is an indication of the small

number of requests that Davidman accepts from Black constituents.

        18. Director Davidman’s discriminatory acceptance of constituent requests for assistance

has also been noticed by individuals outside of the Office. Notably, a Black local elected official

shared with Plaintiff concerns that Davidman displayed racial bias in the processing, or lack

thereof, of the official’s request for assistance. Subsequently, when the local official contacted the

Office for a second time, Plaintiff had to advocate for the Office to open a case and assist the local

official.

        19. Davidman also frequently complains about an African American female Post Office

Operations Manager (“POOM”) and refuses to work with her, stating, “I don’t even deal with

[her]. I don’t understand why she’s a supervisor.” Instead, Davidman only works with the

Caucasian POOM and readily announces that she will only work with him.

        20. Davidman frequently makes off-hand comments that are, at best, racially insensitive,

if not outright discriminatory. For example, on one occasion after a coworker of Latin American




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descent finished speaking during an Office meeting, Davidman spontaneously noted that she was

reminded of her housekeeper and began discussing her housekeeper. Plaintiff did not observe any

connection between her colleague’s statements and Davidman’s housekeeper.

       21. With regard to her role as a supervisor, Director Davidman consistently favors her

Caucasian subordinate employee over her two other subordinate employees – an employee of Latin

descent and Plaintiff – with respect to the allocation of their respective workloads. While

Davidman is proactive in ensuring that a Caucasian subordinate is not overwhelmed or

overworked, she does not display the same awareness with respect to Plaintiff and her colleague.

Instead, Davidman routinely assigns new matters to Plaintiff without respect to Plaintiff’s

workload or capacity and frequently insists that Plaintiff is not that busy.

       22. On or about March 3, 2021, Director Davidman escalated her discriminatory conduct

towards Plaintiff.

       23. On that day, Director Davidman had a telephone conversation with Plaintiff, in which

Davidman accused Plaintiff of having told a constituent that she could not help her with slow

postal service. Plaintiff asked Davidman why she believed that Plaintiff had been the staffer

involved, Davidman responded that the constituent had claimed that the staffer was Black.

       24. Plaintiff explained that she had not told the constituent that she could not help her, and

that instead she had shared with the constituent several steps that could be taken, such as having

the Congressional Office reach out to the Post Office Operations Manager to make an inquiry, or

that the constituent could sign up for “informed delivery” service from the Post Office.

       25. Director Davidman appeared not to believe Plaintiff, and he instructed Plaintiff to

provide all constituents with her work-issued mobile telephone number moving forward. When

Plaintiff explained that she does provide her mobile number to constituents, Davidman falsely




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claimed, “No you don’t – I’ve heard you give the main number out.” Plaintiff was confused by

Davidman’s assertions because Plaintiff regularly shared her mobile number with constituents.

Moreover, Plaintiff consistently worked from home at the time in question and, therefore,

Davidman did not have the opportunity to hear which number Plaintiff generally shared with

constituents.

       26. Shortly after this exchange ended, Davidman and Plaintiff spoke again on the phone.

Davidman – who still seemed upset with Plaintiff – recounted a story about a constituent who

wanted to provide the Congressman’s staff with lanyards, which Davidman apparently believed

resembled “ropes,” to secure their COVID-19 face masks.

       27. Davidman proclaimed to Plaintiff: “Patrice – you are going to have to get a rope and

put it around your neck!”

       28. This comment from Plaintiff’s direct supervisor was shocking, intimidating, and hurtful

to Plaintiff because it was a clear reference to lynching, when Black people were hanged and killed

with ropes in homemade nooses by white mobs who terrorized largely helpless and unprotected

Black communities with what the aggressors considered mob justice to keep the Black community

subservient and cowed.

       29. Plaintiff told Davidman that – on this one occasion – she would forgive the comment,

but she cautioned Davidman never to say anything like that again.

       30. Plaintiff was not alone in finding the comment hurtful and inappropriate. Plaintiff

could hear Davidman’s husband in the background exclaiming: “What did you just say … you

can’t say that!” after he heard Ms. Davidman’s comment to Plaintiff.

       31. The very next day, Plaintiff participated in a Microsoft Teams video conference

scheduled and initiated by Representative Schneider’s staff in the District of Columbia.




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       32. This was a daily Microsoft Teams meeting, hosted by the Chief of Staff, Casey O’Shea,

from the Washington, D.C. Office, and attended by Representative Schneider’s entire staff,

including both the Lincolnshire and Washington, D.C. Staff (but excluding the Representative

himself).

       33. Near the end of the meeting, Davidman sent an email to Plaintiff that instructed Plaintiff

to “put your face on camera please.”

       34. Plaintiff responded that she was on the camera, to which Davidman responded “Really

– face on I have a reason”.

       35. The reason that Davidman had in mind was to create the maximum intimidating effect

and cause the maximum possible pain and humiliation to Plaintiff, who is the only Black employee

on Representative Schneider’s entire staff.

       36. Shortly after Davidman instructed Plaintiff to “put [her] face on camera,” the Microsoft

Teams meeting turned to a daily segment during which a designated staffer shares a personal story

about themselves with the rest of the staff. That day it was staffer, Vic Goetz’s day to present, but

Davidman declared: “I switched with Vic.”

       37. After ensuring that Plaintiff’s face could be seen on the video conference feed,

Davidman retold her story about the constituent who wanted to provide lanyards to the Office and

enthusiastically repeated to the entire staff that she had instructed Plaintiff that she would have to

“get a rope and put it around [her] neck.”

       38. Davidman laughed throughout her story as if her mockery of lynching, and command

to Plaintiff that she put a rope around her neck was hysterical. Davidman even acknowledged that

her husband had warned her that her statement to Plaintiff was totally inappropriate.

       39. Immediately after the call, Davidman made matters worse by calling Plaintiff directly




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and mocking her – laughing and declaring, “You should have seen your face when I told that

story!”     Plaintiff responded that Davidman’s conduct was unacceptable, and she reminded

Davidman that she had already warned her about how inappropriate her comment was.

Davidman’s immediate response was to end the conversation abruptly, saying “Ok, whatever, I’ll

talk to you later. Bye.”

          40. Davidman called Plaintiff back a short time later and asked if Plaintiff was offended.

Davidman conveyed to Plaintiff that the Office’s District Director, Greg Claus, had called

Davidman to tell her that she had made a mockery of lynching. Plaintiff informed Davidman that,

indeed she was hurt and offended because Davidman had repeated her offensive comments.

Davidman responded “It looks like a rope to me, so I am going to call it a rope. You all can call it

what you want.” Davidman then abruptly ended the call and hung up the phone.

          41. Shortly after Plaintiff’s call with Davidman, District Director Claus called Plaintiff to

ask how she was. Claus told Plaintiff that he had cautioned Davidman, and stated something to

the effect of, “How dare she make fun of such an atrocious part of our history?” In response,

Plaintiff told Claus that she had warned Davidman about her inappropriate comment the day

before. Claus responded that, while Davidman’s conduct on March 3 could be chalked up to an

innocent mistake, her conduct during the Teams meeting on March 4 was totally unacceptable.

          42. During a Teams communication the following day, March 5, 2021, Plaintiff informed

District Director Claus that there was another aspect of the story he was not yet aware of. Plaintiff

then forward Davidman’s emails in which Davidman instructed Plaintiff to “put [her] face on

camera,” right before she repeated her story about lynching.

          43. In a subsequent call on March 5, 2021, District Director Claus and Chief of Staff Casey

O’Shea promised Plaintiff that they would take appropriate action.




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       44. Davidman was not disciplined for her conduct. Instead, on information and belief, she

was given a week off, using paid administrative leave.

       45. On March 8, 2021, Plaintiff spoke to District Director Claus and Chief of Staff O’Shea

(who was in Washington, D.C.), to ask what, if any, corrective actions the office planned to take

in response to Davidman’s hostile discriminatory conduct. O’Shea and Claus told Plaintiff that

Davidman would no longer supervise Plaintiff and explained the steps they were going to take to

limit Plaintiff’s interaction with Davidman. Rather than taking away Davidman’s duties, the

Office planned to confine Plaintiff’s caseload to postal service and tax issues to reduce her

interaction with Davidman.

       46. Plaintiff objected to having her caseload limited and reduced because it had the effect

of punishing her, rather than the wrongdoer, for having complained. Plaintiff made clear that

limiting her caseload would pigeon-hole her and inhibit her chances of advancing in the Office.

       47. Plaintiff let Chief of Staff O’Shea and District Director Claus know that she was hurt

and that she did not want the incident to adversely affect her work. In response, O’Shea turned

the tables on Plaintiff and ordered her to “pivot and get back to work.”

       48. On March 13, 2021, after reflecting on Davidman’s cruel, purposeful, and targeted

behavior on March 3 and 4, Plaintiff emailed Chief of Staff O’Shea and District Director Claus to

share additional concerns about Davidman’s treatment of people of color both in and outside of

the Office. Specifically, Plaintiff shared with her managers other instances of Davidman’s

racially-insensitive and biased treatment of her as well as her colleagues and constituents of color,

including but not limited to, Davidman’s disparate treatment of subordinate employees of color,

complaints from a local commissioner who believes that Davidman is racist, and Davidman’s

consistent refusal to open cases on behalf of Black constituents who request the Office’s assistance




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(all of which are discussed above).

       49. Although O’Shea and Claus indicated that they would investigate these broader

complaints and inform Plaintiff of the outcome, to date, no “investigation” has been completed

and to Plaintiff’s knowledge, no action has been taken against Davidman.

       50. As a result of Davidman’s discriminatory conduct and the Defendant’s failure to

address the hostile work environment, Plaintiff disintegrated emotionally.

       51. The discriminatory hostile conduct and the Office’s failure to take appropriate action

to prevent further discrimination, left Plaintiff so emotionally traumatized that she was forced to

take FMLA leave for the month of April 2021 and to work a reduced schedule, using FMLA leave,

for the months of May and June 2021.

       52. Although communicated through District Director Claus, it is Davidman who assigns

Plaintiff's work and decides which constituent calls Plaintiff will handle.         Davidman also

communicates to Plaintiff through District Director Claus.

       53. Since Plaintiff complained about Davidman’s conduct, Plaintiff’s duties have changed

significantly. Whereas prior to her complaint, Plaintiff handled a large variety of constituent

requests, covering a broad array of topics, after she complained, the Office assigned only tax

inquiries (with few possible exceptions) to Plaintiff.

       54. Consequently, Plaintiff is required to work on the most onerous cases, because the

constituents are upset because of action or inaction on the part of the IRS, the cases involve the

risk of severe negative consequences for the constituents, and the cases take a long time to resolve.

       55. As a result, working the tax cases has largely made Plaintiff the subject of the

constituents’ ire, and she regularly receives calls from frustrated and upset constituents.

       56. On or about May 3, 2021, Defendant removed Plaintiff’s authority to post to




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Representative Schneider’s Facebook account, which had been part of her responsibilities prior to

complaining about Davidman’s conduct.

        57. Additionally, despite her reduced working hours, Davidman assigns Plaintiff more

work than Plaintiff can reasonably be expected to perform, including her (restricted) casework as

well as military academy issues, the Congressional Art competition, recommendation letters for

constituents and IRS Child Tax Credit briefings and meetings, which causes Plaintiff anxiety and

stress, and has placed her in fear of losing her employment with the Office.

        58. Further, on or about June 30, 2021, District Director Claus posted information about

Plaintiff’s FMLA reduced work schedule to the entire staff, whereas other staff’s leave does not

get disseminated to the entire staff. This was humiliating to Plaintiff and singled her out among

all the staff.

                 III. COUNT I – HOSTILE WORK ENVIRONMENT BASED ON
                                  RACE AND/OR COLOR

        59. Plaintiff restates and incorporates by reference each of the above paragraphs as if it

were specifically repeated here.

        60. The hostile conduct, described in paragraphs 10-58, above, was directed at Plaintiff

because of her race and/or color, because she is Black, in violation of the Congressional

Accountability Act’s mandate that all personnel actions affecting covered employees shall be made

free from any discrimination based on race or color, in compliance with Title VII of the Civil

Rights Act of 1964.

        61. At all times relevant to this civil action, Davidman’s conduct was sufficiently severe or

pervasive to negatively alter the terms and conditions of Plaintiff’s employment such that it

violated the Congressional Accountability Act.        Specifically, viewed both objectively and

subjectively, Davidman’s conduct was so severe or pervasive that it adversely affected the terms



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and conditions of Plaintiff’s employment.

       62. Defendant was aware of the hostile conduct, but it failed to take appropriate corrective

action to protect Plaintiff or to promptly put an end to the hostile work environment.

       63. Even worse, after Plaintiff complained about the hostile work environment, Defendant

aggravated the hostile work environment by, among other things, maintaining Davidman’s role as

Plaintiff’s supervisor, narrowing the scope of Plaintiff’s work, and limiting Plaintiff to primarily

working on onerous tax inquiries.

       64. As a result of the discriminatory hostile working environment, Defendant violated the

Congressional Accountability Act and caused Plaintiff to experience significant emotional pain

and suffering, including depression and anxiety.

                                 IV. COUNT II – RETALIATION

       65. Plaintiff restates each of the foregoing paragraphs as if they were restated here.

       66. Plaintiff engaged in protected activity by (1) telling her Supervisor, Karyn Davidman,

that her “rope around your neck” comment was inappropriate on both March 3 and 4, 2021; (2)

complaining about Davidman’s discriminatory conduct to District Director Claus on March 4,

2021; (3) complaining about Davidman’s discriminatory conduct to Chief of Staff O’Shea on

March 8, 2021; (4) complaining about Davidman’s broader discriminatory conduct towards

Plaintiff and other people of color, including colleagues and constituents, to Chief of Staff O’Shea

and District Director Claus on March 13, 2021; and (5) subsequently questioning the adequacy of

the Office’s actions to correct the discriminatory conduct and protect Plaintiff against future

discrimination or retaliation.

       67. In retaliation for her protected activity, among other things described in the Fact section

above, Defendant narrowed the scope of Plaintiff’s duties, assigned her only to onerous constituent




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tax issues, and assigned her more work that she could possibly be expected to accomplish on her

reduced work schedule.

        68. Defendant’s conduct violated Section 207 of the Congressional Accountability Act, 2

U.S.C. § 1317(a), which prohibits employers from “intimidat[ing], tak[ing] reprisal against, or

otherwise discriminat[ing] against, any covered employee because the covered employee has

opposed any practice made unlawful by [the Act].”

        69. Defendant’s retaliatory conduct toward Plaintiff was “materially adverse” to Plaintiff,

meaning that it was reasonably likely to have dissuaded a reasonable worker from making or

supporting a charge of discrimination.

        70. As a result of the retaliation, Defendant violated the Congressional Accountability Act

and caused Plaintiff to experience significant emotional pain and suffering, including depression

and anxiety.

        WHEREFORE, Plaintiff prays that this Court: (i) declare that the employment practices

complained of in this Complaint are unlawful in that they violate the Congressional Accountability

Act; (ii) permanently enjoin the Defendant and its agents, officers and employees from engaging

in all practices found by this Court to be in violation of the Congressional Accountability Act; (iii)

order the Defendant to make the Plaintiff whole by paying Plaintiff any monetary damages, and

any out of pocket expenses, proved at trial; (iv) order the Defendant to make the Plaintiff whole

by paying Plaintiff pain and suffering compensatory damages for the Plaintiff’s emotional pain

and suffering in an amount to be determined at trial; (v) retain jurisdiction over this action to ensure

full compliance with the Court's orders and require the Defendant to file such reports as the Court

deems necessary to evaluate such compliance; (vi) order the Defendant to pay Plaintiff’s costs and

expenses and reasonable attorneys' fees in connection with this action; and (vii) grant such other




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and further relief to the Plaintiffs as the Court deems just and proper.



                             PLAINTIFF DEMANDS A TRIAL BY JURY




                                       Respectfully Submitted,
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